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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL KARP and LINDA KARP,                      No. 4:18-CV-02282

          Plaintiffs,                             (Judge Brann)

     v.

DANA JENKINS and CIS EXPRESS,
LLC,

          Defendants.

                                   ORDER

     AND NOW, this 4th day of November 2020, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

     1.   Plaintiffs’ Motion for Default Judgment (Doc. 25) is GRANTED.

          a.     Plaintiffs have stated a claim as to the following Counts: 1, 3, 6,

                 8, 10, and 13.

          b.     Plaintiffs have not stated a claim under Counts 4, 5, 7, 11, 12,

                 and 14.

          c.     Counts 2 and 9 seek punitive damages against Jenkins and will

                 be addressed in a future proceeding.

     2.   As neither Defendant has yet filed a responsive pleading, Plaintiffs

          have the opportunity to file an amended pleading as of right, or they

          can proceed to the issue of damages on the surviving counts. Should
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     Plaintiffs wish to file an amended complaint, they are instructed to do

     so by November 25, 2020. In the interim, the Court will schedule a

     telephonic conference with Plaintiffs to inquire as to their intentions.

3.   The Clerk of Court is directed to mail a copy of the Memorandum

     Opinion and the Order to Defendants at their addresses listed in the

     executed Summonses (Documents 19 and 23).


                                       BY THE COURT:


                                       s/ Matthew W. Brann
                                       Matthew W. Brann
                                       United States District Judge




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